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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION
 ________________________________________________________________________________

 UNITED STATES OF AMERICA                           )
                                                    )
        Plaintiff,                                  )
                                                    )
 v.                                                 )       Case No.: 1:17-CR-10067-STA
                                                    )
 STEVEN JONES,                                      )
                                                    )
        Defendant.                                  )


       ORDER ON MOTION TO CONTINUE SENTENCING HEARING AND NOTICE OF
                                RESETTING


        THIS cause came on to be heard before the Honorable S. Thomas Anderson, Chief

 United States District Judge for the Western District of Tennessee upon Motion of the

 Defendant for a continuance of his sentencing hearing.

        It is THEREFORE ORDERED, ADJUDGED, and DECREED that the Sentencing hearing

 be rescheduled to Monday, June 25, 2018 at 9:00 A.M.

        This the 15th day of May, 2018.


                                                            s/ S. Thomas Anderson
                                                            Honorable S. Thomas Anderson
                                                            Chief United States District Judge
